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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

___________________________________________________________ X
U.S. BANK, NATIONAL ASSOCIATION,

Plaintiff, 12-cv-7322 (PKC)

-against-
ORDER

UBS REAL ESTATE SECURITIBS INC.,

Defendant.
___________________________________________________________ X

CASTEL, U:S.D.J.

On February 6, 2018, David Visher and Sandra Visher, Who are proceeding pr_o
§§, moved to intervene in the above-captioned case pursuant to Rule 24, Fed. R. Civ. P. (Docket
# 569.) They are ceititicateholders in the MARl\/.[ 2006-OA2 Trust, Which is one of three RMBS
trusts at issue in this litigationl They assert that plaintiff U.S. Bank National Association (“U.S.
Bank”), in its capacity as trustee, has practiced “collusion, adversity of interest, nonfeasance, or
incompetence” and thus failed to act in the best interests of the trusts and their certiiicateholders.
(Docket # 569 at l.) The Vishers state that their proposed intervention is limited to re-opening
discovery in order to obtain “at a minimum” 5,337 loan files that U.S. Banl<; did not access
during discovery, and to “[t] orce” the disclosure of Which entities having voting rights in the
Trusts. (Docket # 569 at 3, 19-20.)

For reasons that Will be explained, the motion is denied.

The Vishers previously filed a motion to intervene in 2012, Which was denied.
Y 2013 WL 139636 (S.D.N.Y. Jan. 11, 2013) (Baer, J.). Fact discovery in this case closed in

February 2014. (Docket # 158.) After a bench trial in April and May of 2016, this Couit issued

 

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a Memorandum and Order that construed the underlying PSAs, reviewed certain exemplar loans
and delegated review of additional loans to a Master. § 205 F. Supp. 3d 386 (S.D.N.Y. 2016).

The Vishers are also two of the plaintiffs in a putative class action brought by
certificateholders of the MARM ZOOG-OAZ Trust in Bakal v. U.S. Banl< National Association, 15
Civ. 6976 (PKC), which U.S. Bank successful1y moved to dismiss pursuant to Rule 12(b)(6),
Fed. R. Civ. P. § 2018 WL 1726053 (S.D.N.Y. Apr. 2, 2018). The Court entered judgment,
and the _B_ak_al_ plaintiffs have EIed a Notice of Appeai.

Familiarity with the present action and the M action is assumed

Ruie 24 governs a motion to intervene that is brought permissiver or as of right.
“lntervention as of right under Ruie 24(a)(2) is granted when ail four of the following conditions
are met: (i) the motion is timely; (2) the applicant asserts an interest relating to the property or
transaction that is the subject of the action; (3) the applicant is so situated that without
intervention, disposition of the action may, as a practical matter, impair or impede the applicant’s
ability to protect its interest; and (4) the applicant’s interest is not adequately represented by the
other parties.” MasterCard lnt’11nc. v. Visa Int’l Serv. Ass’n. Inc.. 471 F.3d 377, 389 (2d Cir.
2006). “F ailure to satisfy M prime of these requirements is a sufficient ground to deny the
appiication.” Farmland Dairies v. Commissioner oi`New York Dep’t of Agric. & Mkts., 847
F.Zd 1038, 1043 (2d Cir. 1988) (emphasis in original).

As certiticateholders in one of the three Rl\/[BS trusts, the Vishers have an interest
relating to the subject of this action However, their application is untimely, and the Vishers
have not made a showing that intervention is necessary to protect their interests

As to timeliness, this action was commenced in September 2012, nearly 5-1-/2

years before this motion was tilecl. The Vishers were aware that their interests were implicated

 

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in this action, as reflected by their prior motion to intervene They argue that this motion has
been made timely by subsequent developments, including the status of the so~called “missing”
lndieMac loan files that they seek to attain through re-opened discovery. They contend that U.S.
Banl{ Was “incompetent” and “negligent” in not obtaining the tiles, and that UBS colluded with
the loan originators and/ or U.S. Bank to ensure that these tiles were not delivered (Docket #
569 at 2-3, 7-11, 18~19.) But, at the latest, the status of the IndyMac files was raised on the
record and in open court during the trial of April and May 2016. The Vishers waited more than
20 months before moving to intervene, which weighs against their motion.

Second, the Vishers have not made a showing that intervention is required to
adequately represent their interests, or that U.S. Bank has failed to represent their interests They
assert that it was “incornpetent and stupid” of U.S. Banl< not to “immediately rej ect” a settlement
proposal negotiated by counsel to certain certificateholders, who they characterize as “shill[s].”
(Ld:w at 11~12.) U.S. Banl< disseminated the proposed settlement to certificateholders on October
18, 2017, and its notice stated that U.S. Bank was not involved in the negotiation (England Dee.
EX, A.) The Vishers argue that the proposed settlement would resolve the trusts’ claims for
approximately 1/3 of their likely value. (Docket # 569 at 9, 16.) However, they have made no
showing that U.S. Bank has acted in bad faith by disseminating details of the settlement, and
their assertions concerning U.S. Banl<’s motivations and performance are conclusory

The motion to intervene is denied for the additional reason that it raises issues that
are independent of UBS’s satisfaction of the PSAs’ representations and warranties When Judge
Baer denied the prior motion to intervene in 2013, he observed that the intervenors proposed “to
radically change the existing case” from a breach of contract action regarding the PSAs into one

about the legal obligations between U.S. Bank and the certificateholders. 2013 WL 139636, at

 

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*2. The Vishers have already asserted claims against U.S. Bank in the M action, and a notice
of appeal has been filed in that case. rfhe Vishers’ arguments directed to U.S. Banl<’s duties to
the certificateholders are separate from UBS’s compliance with the PSAS. Similarly, allegations
concerning UBS’s purchase of certificates issued by the three trusts raise issues that are distinct
from this breach of contract action

To the extent that the Vishers move for permissive intervention under Rule 24(‘0),
their motion is denied A district court has “very broad” discretion on a motion for permissive
intervention H.L. Havden Co. of N.Y. v. Siernens l\/[ed Svs., lnc., 797 F.2d 85, 89 (2d Cir.
1986). A court must consider undue delay or prejudice to the original parties. Ld. lt should also
consider the extent of the movants’ interests, whether those interests are adequately represented
by other parties and whether intervention will significantly contribute to developing the factual
and legal issues. id Pennitting intervention in order to re-open fact discovery four years after it
closed would result in significant delay and prejudice Separately, for the reasons explained
intervention would not contribute to developing the relevant factual and legal issues, and the
Vishers have not made a showing that their interests are not adequately represented

The motion to intervene is DENIED. (Docket # 5 69.) The Clerh is directed to

terminate the motion

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P. Ke\tin Castel
United States District Judge

Dated: New Yorl<, New York
May 10, 201 8

 

 

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